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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 DONAVE STANLEY,                                            Case No.: 2:20-cv-02358-APG-EJY

 4           Plaintiffs                                     Order Deeming Order to Show Cause
                                                                        Satisfied
 5 v.

 6 G4S SECURE SOLUTIONS (USA), INC.,

 7           Defendant

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 9          In light of defendant G4S Secure Solutions (USA), Inc.’s statement regarding removal

10 (ECF No. 7) and response to the order to show cause (ECF No. 8),

11          I ORDER the order to show cause (ECF No. 6) is deemed satisfied, and I will not remand

12 this action to state court for lack of subject matter jurisdiction at this time.

13          DATED this 12th day of January, 2021.

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                                                            ANDREW P. GORDON
                                                            UNITED STATES DISTRICT JUDGE
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